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                                 IN UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO

  Civil Action No.: ______


  Larry S. Farmer,

             Plaintiff/Movant,

  Colorado Christian University,

             Defendant.


                                              COMPLAINT


          For this Complaint, the Plaintiff, Larry S. Farmer, by undersigned counsel, states as

  follows:

                                             JURISDICTION

          1.       This action arises out of Defendant’s repeated violations of the Telephone

  Consumer Protection Act 47 U.S.C. § 227, et seq. (the “TCPA”).

          2.       Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that Defendant

  transacts business in this District and a substantial portion of the acts giving rise to this action

  occurred in this District.

                                                 PARTIES

          3.       Plaintiff, Larry S. Farmer (“Plaintiff”), is an adult individual residing in

  Savannah, Georgia, and is a “person” as defined by 47 U.S.C. § 153(39).

          4.       Defendant Colorado Christian University (“CCU”), is a Colorado business entity

  with an address of 8787 West Alameda Avenue, Denver, Colorado 80226, and is a “person” as

  defined by 47 U.S.C. § 153(39).
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                                                FACTS

         5.      Within the last year, CCU began calling Plaintiff’s cellular telephone, number

  912-XXX-4360, using an automatic telephone dialing system (“ATDS”).

         6.      When Plaintiff answered calls from CCU, he heard silence and would wait on the

  line before the call would be disconnected.

         7.      Plaintiff never provided his cellular telephone number to CCU and never provided

  his consent to CCU to be contacted on his cellular telephone.

         8.      Nevertheless, CCU continued to place automated calls to Plaintiff’s cellular

  telephone number.

                                         COUNT I
                         VIOLATIONS OF THE TCPA – 47 U.S.C. § 227, et. seq.

         9.      Plaintiff incorporates by reference all of the above paragraphs of this Complaint

  as though fully stated herein.

         10.     At all times mentioned herein, Defendant called Plaintiff’s cellular telephone

  number using an ATDS or predictive dialer.

         11.     In expanding on the prohibitions of the TCPA, the Federal Communications

  Commission (“FCC”) defines a predictive dialer as “a dialing system that automatically dials

  consumers’ telephone numbers in a manner that “predicts” the time when a consumer will

  answer the phone and a [representative] will be available to take the call…”2003 TCPA Order,

  18 FCC 36 Rcd 14022. The FCC explains that if a representative is not “free to take a call that

  has been placed by a predictive dialer, the consumer answers the phone only to hear ‘dead air’ or

  a dial tone, causing frustration.” Id. In addition, the TCPA places prohibitions on companies that

  “abandon” calls by setting “the predictive dialers to ring for a very short period of time before



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  disconnecting the call; in such cases, the predictive dialer does not record the call as having been

  abandoned.” Id.

           12.   Defendant’s telephone system(s) have some earmarks of a predictive dialer.

           13.   When Plaintiff answered calls from Defendant, he heard silence before

  Defendant’s telephone system would terminate the call.

           14.   Defendant’s predictive dialers have the capacity to store or produce telephone

  numbers to be called, using a random or sequential number generator.

           15.   Defendant placed automated calls to Plaintiff’s cellular telephone number despite

  knowing that it lacked consent to do so. As such, each call placed to Plaintiff was made in

  knowing and/or willful violation of the TCPA, and subject to treble damages pursuant to 47

  U.S.C. § 227(b)(3)(C).

           16.   The telephone number called by Defendant was and is assigned to a cellular

  telephone service for which Plaintiff incurs charges pursuant to 47 U.S.C. § 227(b)(1).

           17.   Plaintiff was annoyed, harassed and inconvenienced by Defendant’s continued

  calls.

           18.   The calls from Defendant to Plaintiff were not placed for “emergency purposes”

  as defined by 47 U.S.C. § 227(b)(1)(A)(i).

           19.   Plaintiff is entitled to an award of $500.00 in statutory damages for each call in

  violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

           20.   As a result of each call made in knowing and/or willful violation of the TCPA,

  Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00 pursuant to 47

  U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).




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                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays that judgment be entered against Defendant:

               A. Statutory damages of $500.00 for each violation determined to be negligent

                   pursuant to 47 U.S.C. § 227(b)(3)(B);

               B. Treble damages for each violation determined to be willful and/or knowing

                   pursuant to 47 U.S.C. § 227(b)(3)(C); and

               C. Such other and further relief as may be just and proper.

                         TRIAL BY JURY DEMANDED ON ALL COUNTS


  Dated: March 4, 2019

                                                     Respectfully submitted,

                                                     By /s/ Sergei Lemberg
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